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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 ____________________

In re:
                                                     Case No. BG 21-00524
LARRY ALLEN CLUCHEY,                                 Chapter 7

     Debtor.
_____________________________________/

WORLD ENERGY INNOVATIONS, LLC,
f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,
                                                     Adversary Proceeding
         Plaintiff,                                  No. 21-80053

v.

LARRY ALLEN CLUCHEY &
SHERRY D. CLUCHEY,

     Defendants.
_____________________________________/


                      ORDER SCHEDULING HEARING ON DEFENDANTS'
                               MOTIONS TO DISMISS AND
                        REQUIRING RESPONSE BY DATE CERTAIN

                        PRESENT:   HONORABLE JAMES W. BOYD
                                   United States Bankruptcy Judge

      On June 11, 2021, Defendant Larry Cluchey filed a Motion to Dismiss Counts I
through VII of the complaint in the above-captioned adversary proceeding. (AP Dkt. No.
11.) Defendant Sherry Cluchey also filed a Motion to Dismiss Counts IV through VII of
the complaint on June 14, 2021. (AP Dkt. No. 18.) The court has reviewed both motions
and has determined to schedule a hearing. The court will also require World Energy
Innovations, LLC (the "Plaintiff") to file a response to the motions by a date certain.

      NOW, THEREFORE, IT IS HEREBY ORDERED that the Plaintiff shall file a
response to Defendant Larry Cluchey's Motion to Dismiss and a response to Defendant
Sherry Cluchy's Motion to Dismiss by no later than July 9, 2021.

      IT IS FURTHER ORDERED that a hearing regarding both Defendants' Motions to
Dismiss shall be held before the Honorable James W. Boyd at the United States
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 Bankruptcy Court, One Division Avenue North, 3rd Floor, Courtroom B, Grand Rapids,
 Michigan, on July 20, 2021, at 10:00 a.m.

         Please note: The court will be re-opening for in-person hearings as of
         July 6, 2021. The parties should consult the "Remote Hearing Procedures"
         notice on the court's website, https://www.miwb.uscourts.gov/covid-19-
         notices, for information concerning court appearances.

         IT IS FURTHER ORDERED that the Clerk shall serve a copy of this order pursuant
 to Fed. R. Bankr. P. 9022 and LBR 5005-4 upon Tyson A. Crist, Esq. attorney for the
 Plaintiff, Robert F. Wardrop, II, Esq., attorney for Defendant Larry Cluchey, and Steven
 M. Bylenga, Esq., attorney for Defendant Sherry Cluchey.

                                    END OF ORDER




IT IS SO ORDERED.

Dated June 23, 2021
